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                    Exhibit C-45
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 100% Online Graduate
 Programs to Be O ered at
 Winthrop
        1 minute read                                                                            



 Beginning in the fall of 2018, Winthrop University will begin o ering a range of 100% online graduate programs.

 The university will start with four degrees: Master of Business Administration, Master of Education in Special Education Intervention, the
 Master of Social Work, and the Master of Art in Arts Administration.

 Winthrop President Dan Mahony said research shows that those seeking advanced degrees want more options and exibility when it comes
 to online learning. “As we expand Winthrop’s online o erings as part of the Winthrop Plan, we will be able to reach more adult students who
 want to further their education through a quality program but may not be able to do so in a physical classroom,” Mahony said. “We expect
 fully online graduate programs will be a good t for some of our prospective graduate students.”

 In order to deliver a variety of 100% online graduate programs, university o cials have entered into a seven-year agreement with Wiley
 Education Services.

 Winthrop faculty and sta will continue to design and deliver the graduate programs and curriculum, as well as evaluate students for
 admission and provide academic support. With this partnership, however, Winthrop will avoid many of the upfront infrastructure costs
 associated with fully online programs. Wiley will provide customer service support and signi cant marketing, advertisement, and
 recruitment services.

 “As a result of this agreement, Winthrop will be able to o er online graduate degrees more quickly and at the high level of educational
 quality for which Winthrop is well known,” said Provost Debra Boyd.

 “The rst online graduate programs will be available during the 2018 academic year with the potential that options will expand as
 appropriate, depending on the needs of students and our community,” according to Jack DeRochi, dean of the Graduate School.

 For more information, contact DeRochi at derochij@winthrop.edu.




Free Resources




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